         CASE 0:08-cv-00606-JRT-JJK Document 9 Filed 01/13/09 Page 1 of 1
                          UNITED STATES DISTRICT COURT
                       DISTRICT OF MINNESOTA
   _______________________________________________________________________

     STACEY PRIBYL,                                        Civil No. 08-0606 (JRT/JJK)

                                       Plaintiff,
    v.
                                                                     ORDER
    LCM PATHOLOGISTS, PC,

                            Defendant.
   _______________________________________________________________________

         Mary Kay Kolar, HANSEN DORDELL BRADT ODLAUG & BRADT,
         PLLP, 3900 Northwoods Drive, Suite 250, St. Paul, MN 55112, for
         plaintiff.

         Bryon Ascheman and Richard Thomas, BURKE & THOMAS, PLLP,
         3900 Northwoods Drive, Suite 200, St. Paul, MN 55112, for defendant.



         Based on the stipulation of dismissal with prejudice filed by the parties on January

12, 2009 [Docket No. 8],

         IT IS HEREBY ORDERED that the above-captioned matter is hereby dismissed

with prejudice, on the merits, and without further cost to any of the parties or their

attorneys.



DATED: January 12, 2009
at Minneapolis, Minnesota.                               s/John R. Tunheim
                                                        JOHN R. TUNHEIM
                                                      United States District Judge
